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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,                 *
INC., et al.,                             *
                                          *
             Plaintiffs,                  *
                                          *
       v.                                 *          1:20-CV-05018-ELR
                                          *
BRAD RAFFENSPERGER, in his                *
official capacity as the Secretary of     *
State of Georgia, et al.,                 *
                                          *
             Defendants,                  *
                                          *
DEMOCRATIC PARTY OF                       *
GEORGIA and DSCC,                         *
                                          *
              Intervenor-Defendants.      *
                                          *
                                     _________

                                    ORDER
                                    _________

      Presently before the Court is Plaintiffs’ “Emergency Motion for Injunction

Pending Appeal.” [Doc. 47]. By their motion, Plaintiffs ask this Court, pursuant to

Federal Rule of Civil Procedure 62 and Local Rule 7.2(B), “to order that no absentee

ballots cast in the 2021 special runoff election for Georgia’s U.S. Senate seats be

opened pending the adjudication of Plaintiffs’ expedited appeal of” the Court’s

December 17, 2020 ruling to deny Plaintiffs’ motion for preliminary injunction
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[Doc. 2] and grant Defendants’ motion to dismiss [Doc. 27]. [See Doc. 46]; see also

FED. R. CIV. P. 62; LR 7.2(B), NDGa. (allowing for emergency motions).

       On December 18, 2020, Plaintiffs appealed this case.       [Doc. 48].    On

December 20, 2020, the Eleventh Circuit denied Plaintiffs’ appeal. [Doc. 52].

      Accordingly, the Court DENIES AS MOOT Plaintiffs’ “Emergency Motion

for Injunction Pending Appeal.” [Doc. 47]. The Court DIRECTS the Clerk to close

this case.

      SO ORDERED, this 21st day of December, 2020.




                                            ______________________
                                            Eleanor L. Ross
                                            United States District Judge
                                            Northern District of Georgia




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